                IN THE UNITED STATES DISTRICT COURT FOR THE
                        MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION

UNITED STATES OF AMERICA                            )
                                                    )
                                                    )
v.                                                  )       Criminal No. 3:10-00250
                                                    )       Judge Trauger
MATTHEW PAUL DEHART                                 )

                                           ORDER

       The defendant’s Motion to Continue Trial And to Extend Pretrial Deadlines And Motion

For Status Conference (Docket No. 192) is GRANTED. The trial scheduled for October 15,

2013 is CONTINUED, to be reset at a telephonic status conference to be held on October 15,

2013 at 10:30 a.m. Counsel shall call (615) 695-2858 in order to participate in the telephonic

status conference.

       It is so ORDERED.

       ENTER this 24th day of September 2013.



                                                    ________________________________
                                                          ALETA A. TRAUGER
                                                            U.S. District Judge




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